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                           Exhibit 39
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                                    Frequently Asked Questions

  1. How do the U.S. Department of Transportation (USDOT) and the Federal Highway
  Administration (FHWA) address health through transportation planning and decision-making?

  A. The U.S. Department of Transportation and the Federal Highway Administration have a
  history of promoting health through our policies and funding programs. FHWA has made
  significant investments in transit infrastructure; bicycle and pedestrian plans, coordinators, and
  facilities; Safe Routes to School programs; road safety; air quality improvements and congestion
  reduction; and the management and operations of regional transportation systems. FHWA
  promotes sustainable and livable communities through involvement in the Partnership for
  Sustainable Communities, FHWA’s Livability Initiative, USDOT’s policy statement in support of
  “the development of fully integrated active transportation networks,” and FHWA’s support for
  context sensitive solutions (CSS), community impact assessment (CIA), and environmental
  justice to ensure that transportation facilities fit appropriately into their surrounding
  environments. Our partners at metropolitan planning organizations (MPOs), State Departments
  of Transportation (DOTs), and tribal and other Federal, State, and local government agencies
  have developed transportation plans, programs, and projects that improve mode choice and
  access, thereby promoting health.

  2. How does transportation affect public health?

  A. Transportation can affect human health, either positively or negatively, in several ways. For
  example:

     •   Safety: Motor vehicle crashes are a leading cause of death. Using effective safety
         countermeasures and encouraging safe behaviors by all road users can reduce the
         number of fatalities and injuries. This is particularly important for vulnerable road users
         like pedestrians, bicyclists, children, and older adults.
     •   Air Quality: Transportation planning that reduces vehicle emissions improves air quality
         for everyone. The populations that benefit most from cleaner air are children, older
         adults, and individuals with respiratory diseases.
     •   Physical Activity: Incorporating bicycle and pedestrian (active transportation and
         recreation) infrastructure and facilities promotes physical activity. There is strong
         evidence that this activity can lower the risk of early death, heart disease, stroke, high
         blood pressure, and type 2 diabetes.i Physical activity also can help prevent weight gain,
         reduce depression, and improve cognitive function (for older adults). ii
     •   Access to Goods, Services and Opportunities: Transportation systems can support
         individuals in leading a healthy life by improving access to recreational opportunities,
         healthy foods and health care as well as jobs, education and other necessities that

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         improve quality of life. Providing affordable and convenient transportation options can
         promote more equitable opportunities within and between communities.
     •   Noise: Alternatives can be designed to reduce noise and thereby prevent or reduce
         adverse health effects like hearing loss, sleep disturbances, cardiovascular problems,
         performance reduction, annoyance responses, and adverse social behavior – all of which
         are associated with exposure to varying levels of noise.

  3. What are the opportunities to address health through transportation?

  A. Early in the process, when a State DOT or MPO is developing a long-range transportation
  plan (LRTP), health can be included in the vision for the State or metropolitan area’s future.
  When a State DOT is developing a statewide transportation improvement program (STIP) or an
  MPO is developing a transportation improvement program (TIP), they can consider health when
  prioritizing transportation improvements. Health also may be considered during project design
  as well as during the National Environmental Policy Act (NEPA) review process. Several public
  health considerations, like air quality and safety, are routinely addressed through the planning
  and NEPA project development process, and these are important considerations that guide
  project design.

  4. How can members of the community and other stakeholders influence transportation
  planning?

  A. The public plays an important role in the transportation planning process. Public input can
  help State DOTs and MPOs develop a more complete understanding of the community’s needs
  and concerns as they develop transportation plans. Members of a community and other
  stakeholders can attend public meetings to learn about the planning process and provide input
  on draft transportation plans. Stakeholders can also serve on focus groups or advisory
  committees, and join mailing lists to receive periodic updates about the planning process and
  opportunities to be involved. By getting involved, members of the public have an opportunity to
  offer input about how the transportation system can be delivered in a way that promotes
  healthy and livable communities.

  5. How can transportation planners work with public health professionals to leverage
  resources?

  A. State DOTs and MPOs can also build partnerships with their colleagues in State and local
  health departments to tap their public health knowledge and expertise. Leveraging resources
  across the transportation and public health sectors has the potential to lead to better health
  and transportation outcomes.



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  6. How are State and metropolitan transportation planners addressing health through the
  transportation planning process?

  A. The best opportunity to incorporate health into transportation decision-making is during the
  transportation planning process. State DOTs and MPOs across the country have used a range of
  strategies for addressing health through the transportation planning process. A 2012 FHWA
  report, Metropolitan Area Transportation Planning for Healthy Communities, reviewed the practices
  of 12 MPOs with demonstrated leadership in integrating health and transportation, and it
  included detailed case studies on four MPOs that have employed a “comprehensive, balanced,
  or holistic approach to health” that goes beyond well-established assessments of health
  impacts related to safety and air quality. iii Some of the MPOs highlighted in the report include
  the Nashville Area MPO, and the Puget Sound Regional Council. Additional examples of MPOs
  working to promote active transportation and transit to increase physical activity and access
  essential services are the Delaware Valley Regional Planning Commission, and the Denver
  Regional Council of Governments.

  A 2014 FHWA report, Statewide Transportation for Healthy Communities, examines the experiences
  of five State DOTs that have demonstrated leadership in integrating health and transportation:
  California, Iowa, Massachusetts, Minnesota, and North Carolina. The report presents insights
  and a flexible framework for State DOTs that choose to integrate public health considerations
  into their transportation planning and decision-making.

  7. How are health effects addressed in Federal actions?

  A. FHWA routinely includes detailed assessments of health effects, such as safety, air and water
  quality, and noise, in environmental documents. The Council on Environmental Quality’s (CEQ)
  regulations implementing NEPA iv state that environmental documents should “include only
  brief discussion of other than significant issues,” which gives Federal agencies flexibility to
  determine which topics to carry forward for detailed environmental analysis. While the CEQ
  regulations include provisions for considering health effects of Federal actions, the lead Federal
  agency decides how and when to analyze health through the NEPA process. For some plans and
  programs, it may be appropriate to establish baseline health and social conditions in a
  community when identifying the affected environment and to determine whether health-
  related issues other than those routinely analyzed warrant detailed study. Additionally, in
  accordance with CEQ regulations, Federal agencies should consider whether their action may
  violate State or local environmental laws.

  Environmental specialists should use all available information to make informed decisions
  about what health topics may be appropriate to analyze for a given plan, program, or project.
  For example, MPOs and State DOTs often conduct a great deal of study on issues with health

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  implications during the planning process. On a case-by-case basis, environmental specialists
  may coordinate with planners on these studies and/or consider whether previously prepared
  planning efforts may meet statutory and regulatory environmental requirements related to
  health in the NEPA review process. Environmental specialists should consider regulations on
  transportation planning and environmental linkages at 23 CFR 450.212 and 450.318 and should
  determine whether they can apply the provisions of 40 CFR 1502.21, “Incorporation by
  Reference,” to use health-related planning studies when developing a NEPA document.

  8. How does transportation project design address health?

  A. Transportation projects can be designed to promote health by: using geometric design that
  promotes safety for all road users; including adequate, accessible pedestrian and bicycle
  facilities, and safe connections to transit; incorporating signs, signals, and safe crossings for
  pedestrians; providing appropriate lighting, wayfinding, street furniture, bus shelters, and trees;
  and mitigating traffic noise. Public involvement can help provide transportation engineers with
  input and feedback to ensure that planned designs adequately meet the community’s needs.

  9. What tools are USDOT/FHWA developing to help transportation planners consider public
  health in the transportation planning process?

  A. USDOT and the Centers for Disease Control and Prevention (CDC) have developed an easy-
  to-use online transportation and health tool to help transportation planners and
  decisionmakers assess how their transportation system influences the health of their State or
  metropolitan area population and how their jurisdiction compares to other jurisdictions. The
  tool uses health and transportation indicators to help inform health-supportive State and
  regional transportation policies and project decisions. The indicators are:

     •   Complete Streets policies, plans, and projects;
     •   Commute mode shares;
     •   Vehicle miles traveled per capita;
     •   Miles traveled, by mode;
     •   Physical activity from transportation;
     •   Walkability;
     •   Housing and transportation affordability;
     •   Exposure to air pollution;
     •   Road traffic fatalities and injuries, by mode, and fatalities exposure rate;
     •   Seat belt use; and
     •   Fatalities associated with driving under the influence (DUI)/driving while intoxicated
         (DWI).


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  These indicators help State DOTs and MPOs assess how the jurisdiction’s transportation
  system is performing related to health. The Tool provides recommendations for making
  improvements by further incorporating health considerations into the transportation
  planning and decisionmaking processes.

  FHWA is also developing a Framework for Health in Corridor Transportation Planning. The
  goal for this framework is to provide information that transportation professionals need to
  incorporate health into their corridor planning process. The framework will be action-
  oriented and provide step-by-step guidance for planners in corridor planning to identify
  stakeholders, resources and issues, data and tools, and alternatives that promote healthy
  outcomes.

  10. How can health impact assessment (HIA) be used in transportation planning and decision-
  making?

  A. Health Impact Assessment (HIA) is a tool some have used to assess the health effects – both
  positive and negative – of proposed policies, plans, programs, and projects in a variety of
  contexts. In the transportation context, it has been used to evaluate certain programs, plans,
  and proposed projects. Although HIA is not required, it can inform transportation planning and
  decision-making when transportation officials and stakeholders agree to use it. HIA can be most
  effective when it is used in the transportation planning process. When a jurisdiction decides to
  complete an HIA during the project development process, it is most likely to influence the
  project if it is conducted early – during the scoping or development of purpose and need
  phases.

  In 2009, Massachusetts enacted transportation legislation that established a Healthy
  Transportation Compact requiring State transportation and health officials to develop
  “methods to implement the use of health impact assessments to determine the effect of
  transportation projects on public health and vulnerable populations” and “institute a health
  impact assessment for use by planners, transportation administrators, public health
  administrators, and developers[.]” v The State’s first transportation-related HIA completed
  under the compact was the McGrath Highway Corridor HIA. Several other examples of
  transportation-related HIAs are the Atlanta BeltLine HIA, Clark County Bicycle and Pedestrian
  Master Plan HIA, and South 24th Street Road Diet HIA. The Health Impact Project is a good
  resource for more information about HIA.

  i
     2008 Physical Activity Guidelines for Americans, U.S. Department of Health and Human Services, pp. 9-11
  http://www.health.gov/paguidelines/guidelines/default.aspx.
  ii
     2008 Physical Activity Guidelines for Americans, U.S. Department of Health and Human Services, pp. 9, 12-14,
  http://www.health.gov/paguidelines/guidelines/default.aspx.


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  iii
     Metropolitan Area Transportation Planning for Healthy Communities, Federal Highway Administration and John
  A. Volpe National Transportation Systems Center, December 2012,
  http://www.planning.dot.gov/documents/Volpe_FHWA_MPOHealth_12122012.pdf.
  iv
     40 CFR 1500-1508
  v
     An Act Modernizing the Transportation Systems of the Commonwealth, Chapter 25, Section 33, 2009
  https://malegislature.gov/Laws/SessionLaws/Acts/2009/Chapter25




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